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   11   (Additional counsel listed on signature page)
   12

   13
                       IN THE UNITED STATES DISTRICT COURT
   14                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 WESTERN DIVISION
   15

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   17
          STATE OF CALIFORNIA,                            Case No. 2:19-cv-07390-JFW (PLAx)
   18     COMMONWEALTH OF
          MASSACHUSETTS, STATE OF                         REQUEST FOR JUDICIAL
   19     CONNECTICUT, STATE OF                           NOTICE IN SUPPORT OF
          DELAWARE, DISTRICT OF COLUMBIA,                 MOTION FOR PRELIMINARY
   20     STATE OF ILLINOIS, STATE OF                     INJUNCTION
          MAINE, STATE OF MARYLAND, STATE
   21     OF MICHIGAN, STATE OF                           Date: September 30, 2019
          MINNESOTA, STATE OF NEVADA,                     Time: 1:30 p.m.
   22     STATE OF NEW JERSEY, STATE OF                   Courtroom: 7A
          NEW MEXICO, STATE OF NEW YORK,                  Judge: Hon. John F. Walter
   23     STATE OF OREGON,                                Trial Date: N/A
          COMMONWEALTH OF
   24     PENNSYLVANIA, STATE OF RHODE
          ISLAND, STATE OF VERMONT,
   25     COMMONWEALTH OF VIRGINIA, and
          STATE OF WASHINGTON,
   26
                                         Plaintiffs,
   27
                       v.
   28

                                        Request for Judicial Notice in Support of Motion for Preliminary Injunction
                                                                             Case No. 2:19-cv-07390-JFW (PLAx)
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    1    KEVIN K. MCALEENAN, in his official
         capacity as Acting Secretary of
    2    Homeland Security; U.S. DEPARTMENT
         OF HOMELAND SECURITY, ALEX M.
    3    AZAR, II, in his official capacity as
         Secretary of Health and Human
    4    Services; U.S. DEPARTMENT OF
         HEALTH AND HUMAN SERVICES; MARK
    5    A. MORGAN, in his official capacity as
         Acting Commissioner for U.S. Customs
    6    and Border Protection; U.S. CUSTOMS
         AND BORDER PROTECTION; MATTHEW
    7    T. ALBENCE, in his official capacity as
         Acting Director for U.S. Immigration
    8    and Customs Enforcement; U.S.
         IMMIGRATION AND CUSTOMS
    9    ENFORCEMENT; JONATHAN HAYES, in
         his official capacity as Director of the
   10    Office of Refugee Resettlement; OFFICE
         OF REFUGEE RESETTLEMENT,
   11
                                     Defendants.
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                                      Request for Judicial Notice in Support of Motion for Preliminary Injunction
                                                                           Case No. 2:19-cv-07390-JFW (PLAx)
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    1         PLEASE TAKE NOTICE that plaintiffs, the States of California,
    2   Massachusetts, Connecticut, Delaware, Illinois, Maryland, Maine, Michigan,
    3   Minnesota, Nevada, New Mexico, New Jersey, New York, Oregon, Pennsylvania,
    4   Rhode Island, Vermont, Virginia, Washington, and the District of Columbia
    5   (collectively, “Plaintiffs”) hereby request, pursuant to Rule 201 of the Federal Rules
    6   of Evidence, that the Court take judicial notice of the items described below in
    7   connection with Plaintiffs’ Motion for Preliminary Injunction, filed concurrently
    8   herewith.
    9

   10         1.     Attached hereto as Exhibit 1 is a true and correct copy of the new U.S.
   11   Department of Homeland Security and U.S. Department of Health and Human
   12   Services Rule, Apprehension, Processing, Care, and Custody of Alien Minors and
   13   Unaccompanied Alien Children, 84 Fed. Reg. 44,392, dated August 23, 2019. As
   14   of August 28, 2019, the Rule is available on the Federal Register’s official website
   15   at https://www.federalregister.gov/documents/2019/08/23/2019-
   16   17927/apprehension-processing-care-and-custody-of-alien-minors-and-
   17   unaccompanied-alien-children.
   18         2.     Attached hereto as Exhibit 2 is a true and correct copy of excerpts
   19   from the “ICE/DRO Residential Standards” for family detention, also known as
   20   “Family Residential Standards,” last reviewed and updated on January 3, 2018. As
   21   of August 28, 2019, the Standards are available on the U.S. Immigration and
   22   Customs Enforcement’s official website at https://www.ice.gov/detention-
   23   standards/family-residential.
   24         3.     Attached hereto as Exhibit 3 is a true and correct copy of a U.S.
   25   Department of Health and Human Services, Office of the Inspector General,
   26   January 2019 Issue Brief titled, “Separated Children Placed in Office of Refugee
   27   Resettlement Care.” As of August 28, 2019, the Issue Brief is available on the U.S.
   28
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                                        Request for Judicial Notice in Support of Motion for Preliminary Injunction
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    1   Department of Health and Human Services, Office of the Inspector General’s
    2   official website at https://oig.hhs.gov/oei/reports/oei-BL-18-00511.pdf.
    3         4.     Attached hereto as Exhibit 4 is a true and correct copy of a May 31,
    4   2019 U.S. Immigration and Customs Enforcement memorandum titled “Updated
    5   Procedures for Asylum Applications Filed by Unaccompanied Alien Children.” As
    6   of August 28, 2019, the memorandum is available on the U.S. Immigration and
    7   Citizenship Services Enforcement’s official website at
    8   https://www.uscis.gov/sites/default/files/USCIS/Refugee%2C%20Asylum%2C%20
    9   and%20Int%27l%20Ops/Asylum/Memo_-_Updated_Procedures_for_I-
   10   589s_Filed_by_UACs_5-31-2019.pdf.
   11         5.     Attached hereto as Exhibit 5 is a true and correct copy of a June 26,
   12   2018 U.S. Department of Homeland Security, Office of the Inspector General,
   13   Report titled, “ICE’s Inspections and Monitoring of Detention Facilities Do Not
   14   Lead to Sustained Compliance or Systemic Improvements.” As of August 28, 2019,
   15   the Report is available on the U.S. Department of Homeland Security, Office of the
   16   Inspector General’s official website at
   17   https://www.oig.dhs.gov/sites/default/files/assets/2018-06/OIG-18-67-Jun18.pdf.
   18         6.     Attached hereto as Exhibit 6 is a true and correct copy of a January
   19   29, 2019 U.S. Department of Homeland Security, Office of the Inspector General,
   20   Report titled, “ICE Does Not Fully Use Contracting Tools to Hold Detention
   21   Facility Contractors Accountable for Failing to Meet Performance Standards.” As
   22   of August 28, 2019, the Report is available on the U.S. Department of Homeland
   23   Security, Office of the Inspector General’s official website at
   24   https://www.oig.dhs.gov/sites/default/files/assets/2019-02/OIG-19-18-Jan19.pdf.
   25         7.     Attached hereto as Exhibit 7 is a true and correct copy of a December
   26   2006 U.S. Department of Homeland Security, Office of the Inspector General,
   27   Report titled, “Treatment of Immigration Detainees Housed at Immigration and
   28   Customs Enforcement Facilities.” As of August 28, 2019, the Report is available
                                                     2
                                       Request for Judicial Notice in Support of Motion for Preliminary Injunction
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    1   on the U.S. Department of Homeland Security, Office of the Inspector General’s
    2   official website at https://www.oig.dhs.gov/sites/default/files/assets/Mgmt/OIG_07-
    3   01_Dec06.pdf.
    4         8.      Attached hereto as Exhibit 8 is a true and correct copy of a January 4,
    5   2019 letter from President Donald J. Trump sent to all Members of Congress. As
    6   of August 28, 2019, the letter is available on the White House’s official website at
    7   https://www.whitehouse.gov/wp-content/uploads/2019/01/Border-Security-
    8   Letter.pdf.
    9         9.      Attached hereto as Exhibit 9 is a true and correct copy of a June 20,
   10   2018 Executive Order 13841 titled “Affording Congress an Opportunity to Address
   11   Family Separation.” As of August 28, 2019, the Executive Order is available on
   12   the Federal Register’s official website at https://www.govinfo.gov/content/pkg/FR-
   13   2018-06-25/pdf/2018-13696.pdf.
   14         10.     Attached hereto as Exhibit 10 is a true and correct copy of a June 22,
   15   2018 Request for Information (RFI) from the U.S. Department of Homeland
   16   Security, U.S. Immigration and Customs Enforcement, regarding services to house
   17   family units composed of adults and juvenile family members of all age ranges. As
   18   of August 29, 2019, the RFI is available on the Federal Business Opportunities’
   19   official website at
   20   https://www.fbo.gov/index?s=opportunity&mode=form&id=d2f0c2388851d8697ae
   21   60523b4c09f38&tab=core&_cview=1.
   22         11.     Attached hereto as Exhibit 11 is a true and correct copy of an August
   23   28, 2019 publication of the U.S. Immigration Policy Center (USIPC) at the
   24   University of California, San Diego (UCSD) titled “Seeking Asylum: Part 1.” As
   25   of August 29, 2019, the publication is available on the USIPC UCSD official
   26   website at http://usipc.ucsd.edu/publications/usipc-seeking-asylum-part-1-final.pdf.
   27         12.     Attached hereto as Exhibit 12 is a true and correct copy of a July 26,
   28   2019 publication of the U.S. Department of Health and Human Services titled
                                                      3
                                        Request for Judicial Notice in Support of Motion for Preliminary Injunction
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    1   “Unaccompanied Alien Children Released to Sponsors by State.” As of August 29,
    2   2019, the publication is available on the U.S. Department of Health and Human
    3   Services official website at https://www.acf.hhs.gov/orr/resource/unaccompanied-
    4   alien-children-released-to-sponsors-by-state.
    5         13.    Attached hereto as Exhibit 13 is a true and correct copy of a June 28,
    6   2018 U.S. Department of Homeland Security request to the U.S. Department of
    7   Defense titled “DHS Requests DoD House Up to 12,000 Migrants.” As of August
    8   29, 2019, the Request is available on the U.S. Department of Defense official
    9   website at https://www.defense.gov/Newsroom/News/Article/Article/1562247/dhs-
   10   requests-dod-house-up-to-12000-migrants/source/GovDelivery/.
   11         14.    Attached hereto as Exhibit 14 is a true and correct copy of a press
   12   conference transcript titled “Acting Secretary of Homeland Security Kevin K.
   13   McAleenan on the DHA-HHS Federal Rule on Flores Agreement.” As of August
   14   29, 2019, the transcript is available on the U.S. Department of Homeland Security'
   15   official website at https://www.dhs.gov/news/2019/08/21/acting-secretary-
   16   mcaleenan-dhs-hhs-federal-rule-flores-agreement.
   17         15.    Attached hereto as Exhibit 15 is a true and correct copy of the “Put
   18   pressure on the Democrats to end the horrible law . . . .” May 26, 2018 tweet
   19   President Donald J. Trump tweeted at 6:59 a.m. using the Twitter Account
   20   @realDonaldTrump. As of August 28, 2019, the tweet is available at
   21   https://twitter.com/realdonaldtrump/status/1000375761604370434.
   22         16.    Attached hereto as Exhibit 16 is a true and correct copy of the “Catch
   23   and Release is an obsolete term. It is now Catch and Detain . . . .” November 18,
   24   2018 tweet President Donald J. Trump tweeted at 11:55 a.m. using the Twitter
   25   Account @realDonaldTrump. As of August 28, 2019, the tweet is available at
   26   https://twitter.com/realDonaldTrump/status/1064245710747590657.
   27         17.    Attached hereto as Exhibit 17 is a true and correct copy of the
   28   “Anybody entering the United States illegally will be arrested and detained, prior to
                                                     4
                                       Request for Judicial Notice in Support of Motion for Preliminary Injunction
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    1   being sent back to their country!” October 16, 2018 tweet President Donald J.
    2   Trump tweeted at 6:24 p.m. using the Twitter Account @realDonaldTrump. As of
    3   August 29, 2019, the tweet is available at
    4   https://twitter.com/realdonaldtrump/status/1052369731959820292.
    5         18.    Attached hereto as Exhibit 18 is a true and correct copy of the “We
    6   cannot allow all of these people to invade our Country. When somebody comes in,
    7   we must immediately, with no Judges or Court Cases, bring them back from where
    8   they came from. Our system is a mockery to good immigration policy and Law and
    9   Order. Most children come without parents…” June 24, 2018 tweet President
   10   Donald J. Trump tweeted at 8:02 a.m. using the Twitter Account
   11   @realDonaldTrump. As of August 29, 2019, the tweet is available at
   12   https://twitter.com/realdonaldtrump/status/1010900865602019329.
   13         19.    Attached hereto as Exhibit 19 is a true and correct copy of the
   14   comment letter submitted by the California Primary Care Association on October
   15   25, 2018, in response to the Notice of Proposed Rulemaking in the Federal Register
   16   entitled “Apprehension, Processing, Care, and Custody of Alien Minors and
   17   Unaccompanied Alien Children” (Proposed Rule). 83 Fed. Reg. 45, 486 (Sept. 7,
   18   2018). As of August 29, 2019, the comment letter is available online at
   19   https://www.regulations.gov/document?D=ICEB-2018-0002-31414.
   20         20.    Attached hereto as Exhibit 20 is a true and correct copy of the
   21   comment letter submitted by Physicians for Human Rights on October 29, 2018, in
   22   response to the Proposed Rule. As of August 29, 2019, the comment letter is
   23   available online at https://www.regulations.gov/document?D=ICEB-2018-0002-
   24   20614.
   25         21.    Attached hereto as Exhibit 21 is a true and correct copy of the
   26   comment letter submitted by the National Association of Social Workers on
   27   October 30, 2018, in response to the Proposed Rule. As of August 29, 2019, the
   28
                                                     5
                                       Request for Judicial Notice in Support of Motion for Preliminary Injunction
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    1   comment letter is available online at
    2   https://www.regulations.gov/document?D=ICEB-2018-0002-31866.
    3         22.    Attached hereto as Exhibit 22 is a true and correct copy of the
    4   comment letter submitted by Human Rights First on October 31, 2018, in response
    5   to the Proposed Rule. As of August 29, 2019, the comment letter is available
    6   online at https://www.regulations.gov/document?D=ICEB-2018-0002-13061.
    7         23.    Attached hereto as Exhibit 23 is a true and correct copy of the
    8   comment letter submitted by the American Nurses Association on November 1,
    9   2018, in response to the Proposed Rule. As of August 29, 2019, the comment letter
   10   is available online at https://www.regulations.gov/document?D=ICEB-2018-0002-
   11   13006.
   12         24.    Attached hereto as Exhibit 24 is a true and correct copy of the
   13   comment letter submitted by the Center for American Progress and posted on
   14   November 2, 2018, in response to the Proposed Rule. As of August 29, 2019, the
   15   comment letter is available online at
   16   https://www.regulations.gov/document?D=ICEB-2018-0002-13475.
   17         25.    Attached hereto as Exhibit 25 is a true and correct copy of the
   18   comment letter and its attachments submitted by the American Academy of
   19   Pediatrics on November 5, 2018, in response to the Proposed Rule. As of August
   20   29, 2019, the comment letter is available online at
   21   https://www.regulations.gov/document?D=ICEB-2018-0002-73758.
   22         26.    Attached hereto as Exhibit 26 is a true and correct copy of the
   23   comment letter submitted by the California Department of Social Services on
   24   November 5, 2018, in response to the Proposed Rule. As of August 29, 2019, the
   25   comment letter is available online at
   26   https://www.regulations.gov/document?D=ICEB-2018-0002-30310.
   27         27.    Attached hereto as Exhibit 27 is a true and correct copy of the
   28   comment letter submitted by Casa de Esperanza, National Latino Network for
                                                     6
                                       Request for Judicial Notice in Support of Motion for Preliminary Injunction
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    1   Healthy Families and Communities on November 5, 2018, in response to the
    2   Proposed Rule. As of August 29, 2019, the comment letter is available online at
    3   https://www.regulations.gov/document?D=ICEB-2018-0002-21042.
    4         28.    Attached hereto as Exhibit 28 is a true and correct copy of the
    5   comment letter submitted by the National Health Law Program on November 6,
    6   2018, in response to the Proposed Rule. As of August 29, 2019, the comment letter
    7   is available online at https://www.regulations.gov/document?D=ICEB-2018-0002-
    8   21234.
    9         29.    Attached hereto as Exhibit 29 is a true and correct copy of the
   10   comment letter submitted by the American Psychological Association on
   11   November 6, 2018, in response to the Proposed Rule. As of August 29, 2019, the
   12   comment letter is available online at
   13   https://www.regulations.gov/document?D=ICEB-2018-0002-30400.
   14         30.    Attached hereto as Exhibit 30 is a true and correct copy of the
   15   comment letter submitted by the National Association of County and City Health
   16   Officials on November 6, 2018, in response to the Proposed Rule. As of August
   17   29, 2019, the comment letter is available online at
   18   https://www.regulations.gov/document?D=ICEB-2018-0002-20145.
   19         31.    Attached hereto as Exhibit 31 is a true and correct copy of the
   20   multistate comment letter and selected attachments submitted by the Attorneys
   21   General of California, Delaware, Illinois, Iowa, Maryland, Massachusetts,
   22   Minnesota, New Jersey, New Mexico, New York, North Carolina, Oregon,
   23   Pennsylvania, Rhode Island, Vermont, Virginia, Washington, and the District of
   24   Columbia on November 6, 2018, in response to the Proposed Rule. As of August
   25   29, 2019, the comment letter is available online at
   26   https://www.regulations.gov/document?D=ICEB-2018-0002-75641.
   27         32.    Attached hereto as Exhibit 32 is a true and correct copy of the
   28   comment letter submitted by the National Disability Rights Network on November
                                                     7
                                       Request for Judicial Notice in Support of Motion for Preliminary Injunction
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  1   6, 2018, in response to the Proposed Rule. As of August 29, 2019, the comment
  2   letter is available online at https://www.regulations.gov/document?D=ICEB-2018-
  3   0002-21046.
  4         33.     Attached hereto as Exhibit 33 is a true and correct copy of the
  5   comment letter submitted by the Alliance for Children’s Rights on November 6,
  6   2018, in response to the Proposed Rule. As of August 29, 2019, the comment letter
  7   is available online at https://www.regulations.gov/document?D=ICEB-2018-0002-
  8   20332.
  9         34.     Attached hereto as Exhibit 34 is a true and correct copy of the
 10   comment letter submitted by the Center for Law and Social Policy and posted on
 11   December 19, 2018, in response to the Proposed Rule. As of August 29, 2019, the
 12   comment letter is available online at
 13   https://www.regulations.gov/document?D=ICEB-2018-0002-32170.
 14         35.     Attached hereto as Exhibit 35 is a true and correct copy of the
 15   comment letter submitted by the Children’s Defense Fund on November 6, 2018, in
 16   response to the Proposed Rule. As of August 29, 2019, the comment letter is
 17   available online at https://www.regulations.gov/document?D=ICEB-2018-0002-
 18   32204.
 19         36.     Attached hereto as Exhibit 36 is a true and correct copy of the
 20   comment letter submitted by the Japanese American Citizens League on November
 21   6, 2018, in response to the Proposed Rule. As of August 29, 2019, the comment
 22   letter is available online at https://www.regulations.gov/document?D=ICEB-2018-
 23   0002-30275.
 24         37.     Attached hereto as Exhibit 37 is a true and correct copy of the
 25   comment letter submitted by the Center for Human Rights and Constitutional Law;
 26   University of California, Davis, Immigration Law Clinic; National Center for
 27   Youth Law; Youth Law Center; and Law Foundation of Silicon Valley on
 28   November 6, 2018, in response to the Proposed Rule. As of August 29, 2019, the
                                                   8
                                     Request for Judicial Notice in Support of Motion for Preliminary Injunction
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  1   comment letter is available online at
  2   https://www.regulations.gov/document?D=ICEB-2018-0002-21642.
  3         38.    Attached hereto as Exhibit 38 is a true and correct copy of the
  4   comment letter submitted by Kids in Need of Defense on November 6, 2018, in
  5   response to the Proposed Rule. As of August 29, 2019, the comment letter is
  6   available online at https://www.regulations.gov/document?D=ICEB-2018-0002-
  7   21391.
  8         39.    Attached hereto as Exhibit 39 is a true and correct copy of the
  9   comment letter submitted by the Los Angeles Center for Law and Justice on
 10   November 6, 2018, in response to the Proposed Rule. As of August 29, 2019, the
 11   comment letter is available online at
 12   https://www.regulations.gov/document?D=ICEB-2018-0002-30287.
 13         40.    Attached hereto as Exhibit 40 is a true and correct copy of the
 14   comment letter submitted by FWD.us on November 6, 2018, in response to the
 15   Proposed Rule. As of August 29, 2019, the comment letter is available online at
 16   https://www.regulations.gov/document?D=ICEB-2018-0002-21112.
 17         41.    Attached hereto as Exhibit 41 is a true and correct copy of the
 18   comment letter submitted by Human Rights Watch on November 6, 2018, in
 19   response to the Proposed Rule. As of August 29, 2019, the comment letter is
 20   available online at https://www.regulations.gov/document?D=ICEB-2018-0002-
 21   21917.
 22         42.    Attached hereto as Exhibit 42 is a true and correct copy of the
 23   comment letter submitted by the City of Chicago, City of New York, City of Los
 24   Angeles, Los Angeles County, and City and County of San Francisco, together with
 25   the Cities of Austin, Boston, Cambridge, Columbus, Minneapolis, New Haven,
 26   Philadelphia, Oakland, San Francisco, San Jose, Seattle, Somerville, the County of
 27   Santa Clara, the District of Columbia, and the Borough of State College on
 28   November 6, 2018, in response to the Proposed Rule. As of August 29, 2019, the
                                                   9
                                     Request for Judicial Notice in Support of Motion for Preliminary Injunction
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  1   comment letter is available online at
  2   https://www.regulations.gov/document?D=ICEB-2018-0002-21141.
  3         43.     Attached hereto as Exhibit 43 is a true and correct copy of the
  4   comment letter submitted by the American Psychiatric Association on November 6,
  5   2018, in response to the Proposed Rule. As of August 29, 2019, the comment letter
  6   is available online at https://www.regulations.gov/document?D=ICEB-2018-0002-
  7   21106.
  8         44.     Attached hereto as Exhibit 44 is a true and correct copy of the
  9   comment letter submitted by United States Senator Dianne Feinstein on November
 10   6, 2018, in response to the Proposed Rule. As of August 29, 2019, the comment
 11   letter is available online at https://www.regulations.gov/document?D=ICEB-2018-
 12   0002-20546.
 13         45.     Attached hereto as Exhibit 45 is a true and correct copy of the
 14   comment letter submitted by the Catholic Legal Immigration Network, Inc., on
 15   November 6, 2018, in response to the Proposed Rule. As of August 29, 2019, the
 16   comment letter is available online at
 17   https://www.regulations.gov/document?D=ICEB-2018-0002-32290.
 18         46.     Attached hereto as Exhibit 46 is a true and correct copy of the
 19   comment letter submitted by the Center for the Human Rights of Children, Loyola
 20   University of Chicago School of Law, on November 6, 2018, in response to the
 21   Proposed Rule. As of August 29, 2019, the comment letter is available online at
 22   https://www.regulations.gov/document?D=ICEB-2018-0002-22277.
 23         47.     Attached hereto as Exhibit 47 is a true and correct copy of the
 24   comment letter and select attachments submitted by the Pennsylvania Immigration
 25   and Citizenship Coalition and posted on November 8, 2018, in response to the
 26   Proposed Rule. As of August 29, 2019, the comment letter is available online at
 27   https://www.regulations.gov/document?D=ICEB-2018-0002-18748.
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                                     Request for Judicial Notice in Support of Motion for Preliminary Injunction
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  1         48.    Attached hereto as Exhibit 48 is a true and correct copy of the
  2   comment letter submitted by the New York Legal Assistance Group and posted on
  3   November 30, 2018, in response to the Proposed Rule. As of August 29, 2019, the
  4   comment letter is available online at
  5   https://www.regulations.gov/document?D=ICEB-2018-0002-30314.
  6         49.    Attached hereto as Exhibit 49 is a true and correct copy of a 2019
  7   Congressional Border Security Briefing titled “A Border Security and
  8   Humanitarian Crisis.” As of August 28, 2019, the briefing is available on the
  9   White House’s official website at https://www.whitehouse.gov/wp-
 10   content/uploads/2019/01/Border-Briefing.pdf.
 11         50.    Attached hereto as Exhibit 50 is a true and correct copy of the
 12   Stipulated Agreement, Flores v. Reno, Case No. CV 85-4544 RJK (Px) (C.D. Cal.
 13   filed Jan. 17, 1997), which was filed as Exhibit A to the Complaint in this matter.
 14         51.    Attached hereto as Exhibit 51 is a true and correct copy of the ex parte
 15   application filed on June 21, 2018, requesting modification of the Flores
 16   Agreement to allow the U.S. Department of Homeland Security to detain all
 17   families with children for the duration of their immigration proceedings in facilities
 18   that are not state-licensed in Flores v. Sessions, Case No. CV 85-4544-DMG, 2018
 19   WL 4945000, at *1 (C.D. Cal. July 9, 2018), ECF No. 435.
 20         52.    Attached hereto as Exhibit 52 is a true and correct copy of the Order
 21   Denying Defendants’ “Ex Parte Application for Limited Relief from Settlement
 22   Agreement” in Flores v. Sessions, Case No. CV 85-4544-DMG-AGR (C.D. Cal.
 23   July 9, 2018), ECF No. 455.
 24         53.    Attached hereto as Exhibit 53 is a true and correct copy of a press
 25   release No. 18-417 titled “Attorney General Announces Zero-Tolerance Policy for
 26   Criminal Illegal Entry” issued by the U.S. Department of Justice on April 6, 2018.
 27   As of August 30, 2019, the press release is available on the U.S. Department of
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  1   Justice official website at https://www.justice.gov/opa/pr/attorney-general-
  2   announces-zero-tolerance-policy-criminal-illegal-entry.
  3         54.    Attached hereto as Exhibit 54 is a true and correct copy of a press
  4   release titled “Mayor Bowser Announced $2.5 Million Available for FY 2020
  5   Immigrant Justice Legal Services Grant Program” issued by the District of
  6   Columbia Office of the Mayor on July 12, 2019. As of August 30, 2019, the press
  7   release is available on the District of Columbia’s website at
  8   https://mayor.dc.gov/release/mayor-bowser-announces-25-million-available-fy-
  9   2020-immigrant-justice-legal-services-grant.
 10         55.    Attached hereto as Exhibit 55 is a true and correct copy of the District
 11   of Columbia Office of the Chief Financial Officer, Public Charter Schools FY 2019
 12   Proposed Budget and Financial Plan. As of August 30, 2019, the budget and
 13   financial plan is available on the District of Columbia’s website at
 14   https://cfo.dc.gov/sites/default/files/dc/sites/ocfo/publication/attachments/gc_dcpcs
 15   _chapter_2019j.pdf.
 16         56.    Attached hereto as Exhibit 56 is a true and correct copy of the web
 17   page for the District of Columbia Department of Healthcare Finance’s Immigrant
 18   Children’s Program. As of August 30, 2019, the webpage is available at
 19   https://dhcf.dc.gov/service/immigrant-childrens-program.
 20         57.     Attached hereto as Exhibit 57 is a true and correct copy of the web
 21   page for the District of Columbia Department of Healthcare Finance’s Health Care
 22   Alliance. As of August 30, 2019, the webpage is available at
 23   https://dhcf.dc.gov/service/health-care-alliance.
 24         58.    Attached hereto as Exhibit 58 is a true and correct copy of a press
 25   release titled “Mayor Browser Releases Report on the State of Immigrants in the
 26   District,” together with a copy of the referenced report, issued by the District of
 27   Columbia Office of the Mayor on December 18, 2018. As of August 30, 2019, the
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  1   press release is available at https://mayor.dc.gov/release/mayor-bowser-releases-
  2   report-state-immigrants-district.
  3

  4        A Court “must take judicial notice” of adjudicative facts “if a party
  5   requests it and the court is supplied with the necessary information.” Fed. R.
  6   Evid. 201(c)(2). The Court can judicially notice any “fact that is not subject to
  7   reasonable dispute because it: . . . can be accurately and readily determined
  8   from sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid.
  9   201(b)(2). Only relevant facts may be judicially noticed. See Milton H. Greene
 10   Archives, Inc. v. Marilyn Monroe LLC, 692 F.3d 983, 991 n.8 (9th Cir. 2012).
 11        Exhibits 1-10, 12-14, 49, 55, and 58 are judicially noticeable because they
 12   are documents produced and maintained by government entities, many of which
 13   are still publicly available on government websites. The Court may take judicial
 14   notice of such records, letters, reports, and memoranda of government
 15   administrative bodies. See Anderson v. Holder, 673 F.3d 1089, 1094 n.1 (9th Cir.
 16   2012) (taking judicial notice of USCIS interpretation guidance); Cty. of Santa
 17   Clara v. Trump, 250 F. Supp. 3d 497, 520 n.5, 522 n. 8, & 523 n.11 (N.D. Cal.
 18   2017) (taking judicial notice of government memoranda and letters); Brown v.
 19   Valoff, 422 F.3d 926, 933 n.9 (9th Cir. 2005) (taking judicial notice of an
 20   administrative bulletin); Mack v. S. Bay Beer Distribs., Inc., 798 F.2d 1279, 1282
 21   (9th Cir. 1986) (court may take judicial notice of records and reports of state
 22   administrative bodies), overruled on other grounds by Astoria Fed. Sav. & Loan
 23   Ass’n v. Solimino, 501 U.S. 104, 111 (1991); Interstate Nat. Gas. Co. v. S. Cal.
 24   Gas. Co., 209 F.2d 380, 385 (9th Cir. 1953) (judicially noticing government
 25   agency records and reports).
 26         Exhibits 1-14 and 19-49, and 53-58 are judicially noticeable because the
 27   Court may take notice of government documents and publications available on
 28   websites. As a general matter, “[i]t is not uncommon for courts to take judicial
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  1   notice of factual information found on the world wide web.” O’Toole v. Northrop
  2   Grumman Corp., 499 F.3d 1218, 1224 (10th Cir. 2007). The Ninth Circuit has
  3   held that it is appropriate to take judicial notice of information “made publicly
  4   available by government entities” on their websites. Daniels-Hall v. Nat’l Educ.
  5   Ass’n, 629 F.3d 992, 998–99 (9th Cir. 2010) (judicially noticing information
  6   contained on a government website). See also Paralyzed Veterans of America v.
  7   McPherson, No. C 06–4670 SBA, 2008 WL 4183981, at *5 (N.D. Cal. Sept. 9,
  8   2008) (finding that courts commonly take judicial notice of information and
  9   documents on government websites, citing cases from various jurisdictions);
 10   Lindsey v. United Airlines, Inc., No. C 17-00753, 2017 WL 2404911, at *6 (N.D.
 11   Cal. June 2, 2017) (taking judicial notice of certificate of merger because it “is a
 12   public document and its authenticity can be accurately and readily determined
 13   from the Delaware Secretary of State website”); Cty. of Santa Clara v. Astra USA,
 14   Inc., 401 F. Supp. 2d 1022, 1024 (N.D. Cal. 2005) (taking judicial notice of a
 15   price-control regime described on a Department of Health and Human Services
 16   website and a report by the same department). Thus, the documents and
 17   publications contained within Exhibits 1-14, 19-49, and 53-57 are not subject to
 18   reasonable dispute, as they “can be accurately and readily determined from
 19   sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid.
 20   201(b)(2).
 21         Exhibits 15-18 are judicially noticeable because they pertain to a Twitter
 22   account belonging to President Trump, the public nature of the account, and the
 23   existence of the contents on the account which address issues relevant to this
 24   litigation. Plaintiffs have provided this Court with printouts of the public content
 25   of President Trump’s Twitter account. The documents were obtained by simple
 26   internet searches, and thus the fact of their existence, and contents thereof, cannot
 27   reasonably be questioned. In addition, due to the public nature of the account,
 28   President Trump’s Tweets can still be accessed over the internet by using key
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  1   word searching, and thus, these matters are subject to judicial notice under Federal
  2   Rule of Evidence 201. Courts faced with similar types of evidence have taken
  3   judicial notice of a website, including Twitter, when it is publicly available and
  4   otherwise meets the requirements of Federal Rule of Evidence 201. See, e.g.,
  5   Multi Time Mach., Inc. v. Amazon.com, Inc., 792 F.3d 1070, 1072 n.1 (9th Cir.
  6   2015) (taking judicial notice of Amazon’s website and facts contained herein),
  7   opinion withdrawn and superseded on reh’g on other grounds, 804 F.3d 930 (9th
  8   Cir. 2015); Reese v. Malone, 747 F.3d 557, 570 n.8 (9th Cir. 2014) (taking judicial
  9   notice of information posted on website to establish information about a party’s
 10   educational background), overruled on other grounds by City of Dearborn
 11   Heights Act 345 Police & Fire Ret. System v. Align Tech., Inc., 856 F.3d 605, 614
 12   (9th Cir. 2017); Haynes v. Ottley, No. CV 2014-70, 2014 WL 5469308, at *6
 13   (D.V.I. Oct. 28, 2014) (taking judicial notice of fact posted on Twitter account).
 14   Plaintiffs do not seek judicial notice of the truth of the statements made by
 15   President Trump on his Twitter account. See Dent v. Holder, 627 F. 3d 365, 371-
 16   72 (9th Cir. 2010) (judicially noticing existence of documents but not facts proved
 17   by the documents).
 18         Exhibits 14 and 16-19 are also judicially noticeable because the statements
 19   of government officials are not subject to reasonable dispute, as the statements
 20   “can be accurately and readily determined from sources whose accuracy cannot
 21   reasonably be questioned.” Fed. R. Evid. 201(b)(2).
 22         Exhibits 19-48 are judicially noticeable comment letters because they are
 23   part of the Administrative Record posted on Regulations.gov, which provides
 24   public users access to federal regulatory content, and are therefore, “matters of
 25   public record” that are not “subject to reasonable dispute.” Lee v. City of Los
 26   Angeles, 250 F.3d 668, 689-90 (9th Cir. 2001); see Sanders v. Kerry, 180 F. Supp.
 27   3d 35, 41 (D.D.C. 2016) (public records are subject to judicial notice). On
 28   September 7, 2018, Defendants DHS and HHS published the Proposed Rule. In
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  1   response to the Notice of Proposed Rulemaking (NPRM) and at the close of the 60-
  2   day comment period, DHS and HHS had received more than 100,000 comments,
  3   many describing a number of concerns about the proposed Rule and its
  4   impact. Because Defendants have not yet submitted the Administrative Record in
  5   this matter, Plaintiffs request judicial notice of Exhibits 19-48, which are some of
  6   the comments submitted in response to the proposed Rule, all of which are found at
  7   https://www.regulations.gov/docket?D=ICEB-2018-0002.
  8         Exhibit 49 is also judicially noticeable because it is a congressional briefing.
  9   Briefings and testimony given at congressional hearings are properly subjects of
 10   judicial notice. See Adarand Constructors, Inc. v. Slater, 228 F.3d 1147, 1168 n.12
 11   (10th Cir. 2000) (taking “judicial notice of the content of hearings and testimony
 12   before [] congressional committees and subcommittees”); see also Cty. of Santa
 13   Clara, 250 F. Supp. 3d at 520 n. 4, 522 nn. 6 & 7, 523 n. 10 (taking judicial notice
 14   of government officials’ press conference statements, press briefings, and interview
 15   statements).
 16         Exhibits 50-52 are judicially noticeable because each is a record from a
 17   proceeding that addresses issues relevant to this litigation. United States ex rel.
 18   Robinson Rancheria Citizens Council v. Borneo, Inc., 971 F.2d 244, 248 (9th Cir.
 19   1992) (holding that a court “may take notice of proceedings in other courts, both
 20   within and without the federal judicial system, if those proceedings have a direct
 21   relation to matters at issue”) (quoting St. Louis Baptist Temple, Inc. v. FDIC, 605
 22   F.2d 1169, 1172 (10th Cir. 1979)).
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  1          Because the above documents satisfy the criteria of Rule 201(b) of the
  2   Federal Rules of Evidence, Plaintiffs request that the Court take judicial notice of
  3   them pursuant to Rule 201(c)(2) of the Federal Rules of Evidence.
  4

  5
      Dated: August 30, 2019                         Respectfully submitted,
  6

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 20                                                    *Pro Hac Vice applications forthcoming

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